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             EXHIBIT 13
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 5335 Wisconsin Ave. NW, Suite 640, Washington D.C. 20015 | 202.429.2290 | masonllp.com


                                           April 30, 2025

Via Email

Cheryl Florio
Director of ADR Operations
American Arbitration Association
16 Market Square, 1400 16th Street
Suite 400
Denver, CO 80202
Email: CherylFlorio@adr.org

       Re:     Claimants’ Response to AAA’s Apil 25, 2025 Email


Dear Ms. Florio:
        Claimants write in response to AAA’s April 25, 2025, email “confirm[ing] that [AAA]
ha[s] not received the payment for the Case Management Fees [AAA] requested and invoiced [to
Valve].” As requested, Claimants, having reviewed Cal. Code Civ. Proc. (“CA CCP”) § 1281.98,
elect to proceed as follows:

       Election under CA CCP § 1281.98(b)(3).

        With respect to the 14,911 pending arbitration cases in which Valve failed to timely pay
the invoiced Case Management Fees, Claimants elect to proceed in accordance
CA CCP §1281.98(b)(3) and are preparing appropriate court filings to compel Valve to pay all
arbitration fees required of it to proceed with these arbitrations and all other appropriate relief or
sanctions, including, but not limited to, entry of default judgments against Valve on the underlying
claims.
       Election under CA CCP § 1281.98(b)(4)
         Claimants’ counsel are also in the process of identifying a subset of the 14,911 Claimants
that intend to proceed with their arbitration claims despite Valve’s failure to pay the invoiced Case
Management Fees pursuant to CA CCP § 1281.98(b)(4) and/or AAA Consumer Rule 54(a). These
Claimants will include, but not be limited to, Claimants who never agreed to Valve’s revised Steam
Subscriber Agreement dated September 26, 2024, either by cancelling their accounts or ceasing its
use, and we will provide AAA and Valve a list of these Claimants once they have been identified.
        These Claimants will also seek to recover all arbitration fees they pay due to Valve’s refusal
to pay them as part of any arbitration award, as well as all other available sanctions against Valve,


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including, but not limited to, monetary sanctions, issue sanctions, evidence sanctions, and/or
terminating sanctions as codified in CA CCP §§ 1281.98(b)(4) and (d).
       AAA Should Not Administratively Close the 14,911 Claims due to Valve’s Non-
       Payment of AAA Administrative Fees.
        AAA should not administratively close the 14,911 claims due to Valve’s non-payment of
AAA administrative fees. As noted above, Claimants will be seeking court orders or judgments
compelling Valve to pay its AAA fees and proceed with the arbitration. Thus, AAA should not
close any of these arbitrations to provide any Claimants that wish to proceed with their
arbitrations the opportunity to pay Valve’s unpaid fees and proceed with their arbitrations.
        Likewise, AAA should not close any of the remaining 14,911 claims that don’t
immediately proceed to arbitration. Instead, but only to the extent necessary, AAA should place
any of these cases that don’t immediately proceed to arbitration in administrative suspension (or
“hold”) pending any relevant court rulings regarding Valve’s refusal to pay the invoiced
arbitration fees, including any determination of whether Valve should be compelled to pay its
AAA arbitration fees and proceed to arbitration, and any other appropriate sanctions that could
impact these proceedings.
       The 5,000 Claims Subject to Review by the Process Arbitration Should Not Be
       Closed.
        Likewise, AAA should not close any of the 5,000 Claims that AAA has determined will be
appointed to a Process Arbitrator. There are no unpaid invoices outstanding in these cases which
therefore must proceed at this time.
        Moreover, notwithstanding Valve’s claims to the contrary, the parties have previously
agreed to a process server, and to a strike and rank process for the appointment of a Process
Arbitrator in these cases. See AAA’s July 29, 2024 (AAA confirming that the “The parties agreed
to a strike and rank list process to which the AAA will first pre-screen the potential [process]
arbitrators. After the AAA completes its initial screening process, we will send the parties a list of
five potential Process Arbitrators to strike and rank.”).
       Based on the above, none of these cases should be closed by AAA at this time. Instead,
AAA should place on administrative hold the 14,911 claims pending: 1) payment of Valve’s fees
by certain Claimants or 2) a final ruling by a court on the issue of whether Valve should be
compelled to pay the outstanding AAA invoice.




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      Please let us know if you have any questions or need additional information.

                                         Sincerely,



                                      Gary E. Mason


cc:   All counsel of record




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